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                 UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OHIO



CHRISTOPHER META,                     : Case No. 4:14-cv-0832
         Plaintiff,                   :
     v.                               :
                                      : Judge Donald C. Nugent
TARGET CORP., et al.,                 :
         Defendants.                  :
                                      :
                                      :
                                      :
                                      :
                                      :
                                      :
                                      :

            OBJECTOR SHEILA FERENCE’S OPPOSITION
                 TO MOTION FOR APPEAL BOND

Dated: September 12, 2018    Respectfully submitted,

                             /s/ Simina Vourlis
                             ____________________________________
                             Simina Vourlis
                             Law Office of Simina Vourlis
                             856 Pullman Way
                             Columbus, OH 43212
                             (614) 487-5900 (O)
                             (614) 487-5901 (F)
                             svourlis@vourlislaw.com
                             Attorney for Appellant Sheila Ference
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      Class Member/Appellant, Sheila Ference, (“Objector”) opposes the Motion

for Appeal Bond and states in support:

     I.   Objector cannot be required to post a bond for delay costs associated
with a class settlement while an appeal is pending because these expenses are
not taxable under a specific statute or rule.

      The purpose of an appeal bond is “to ensure payment of costs on appeal.” Fed.

R. App. P. 7. Here, class counsel requests a bond of $80,000 to cover settlement

administration expenses, etc, i.e. delay costs. No rule or statute provides that

Objector can be liable for these costs. Thus, an appeal bond in this case is not

appropriate.

      Last year, the 8th Circuit conducted an analysis of what costs were appropriate

for a bond for a class member who appealed the final approval of the class action.

      The issue is one of first impression in our Court: whether costs
      associated with delays in administering a class action settlement for the
      length of a class member's appeal may be included in an appeal bond
      under Federal Rule of Appellate Procedure 7. While we ordinarily
      review the imposition of a Rule 7 bond for abuse of discretion, the
      determination of costs allowable in the bond is a legal question
      reviewed de novo. Adsani v. Miller, 139 F.3d 67, 71 (2d Cir. 1998); see
      also Reeder–Simco GMC, Inc. v. Volvo GM Heavy Truck Corp., 497
      F.3d 805, 808 (8th Cir. 2007) (reviewing de novo the interpretation of
      federal appellate rules).

      Rule 7 allows a district court to “require an appellant to file a bond or
      provide other security in any form and amount necessary to ensure
      payment of costs on appeal.” Fed. R. App. P. 7. Appeal bonds are a type
      of guarantee for an appellee that an unsuccessful appellant can pay the
      costs the appellee incurs as a result of the appeal. Tennille v. W. Union
      Co., 774 F.3d 1249, 1254 (10th Cir. 2014). Appellate courts generally

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         limit “costs on appeal” to “costs that a successful appellate litigant can
         recover pursuant to a specific rule or statute.” Id.; see also Azizian v.
         Federated Dep't Stores, Inc., 499 F.3d 950, 953 (9th Cir. 2007)
         (allowing attorneys' fees in a Rule 7 bond only when they are included
         as recoverable costs under an applicable fee-shifting statute); Pedraza
         v. United Guar. Corp., 313 F.3d 1323, 1333 (11th Cir. 2002) (same);
         In re Am. President Lines, Inc., 779 F.2d 714, 716 (D.C. Cir. 1985) (per
         curiam) (limiting “costs on appeal” under Rule 7 to “those that may be
         taxed against an unsuccessful litigant under Federal Appellate Rule
         39”). The Sixth Circuit, for example, upheld the inclusion of delay-
         based administrative costs in an appeal bond in part because the
         applicable state law provided for the prevailing party on appeal to
         recover “any damages incurred, including reasonable attorney's fees
         and costs.” In re Cardizem CD Antitrust Litig., 391 F.3d 812, 817–18
         (6th Cir. 2004) (emphasis added). By the same logic, the Tenth Circuit
         reversed an appeal bond that included delay costs, as no rule or statute
         applied allowing for their recovery. Tennille, 774 F.3d at 1255.

         We find our sister circuits' approach sensible and fair. By linking the
         amount of the bond to the amount the appellee stands to have
         reimbursed, the rule secures the compensation due to successful
         appellees while avoiding creating “an impermissible barrier to appeal”
         through overly burdensome bonds. See Adsani, 139 F.3d at 76.
         Accordingly, we hold that “costs on appeal” for Rule 7 purposes
         include only those costs that the prevailing appellate litigant can
         recover under a specific rule or statute applicable to the case at hand.

In re Target Corp. Customer Data Sec. Breach Litig., 847 F.3d 608, 614–15
(8th Cir. 2017), amended, 855 F.3d 913 (8th Cir. 2017).
         Here, there are no specific rules or statutes that would shift the delay costs to

Objector. Thus, in the absence of an applicable cost-shifting statute or appellate

rule, Objector cannot be responsible for the delay costs sought by the Settlement

Class.

         This approach to defining “costs” on appeal is consistent with the Supreme

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Court’s repeated admonition that the term “costs” is not an open-ended invitation

for courts to impose whatever expenses they deem fair, but rather a term of art whose

content is bounded by the items specified in statutes or rules. See Arlington Cent.

Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 297 (2006) (holding that, in the

Individuals with Disabilities Education Act, “[t]he use of this term of art [i.e.,

‘costs’], rather than a term such as ‘expenses,’ strongly suggests that [the statute’s

cost-shifting provision] was not meant to be an open-ended provision that makes

participating States liable for all expenses incurred by prevailing [plaintiffs]”);

Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 441-42 (1987) (holding

that “costs” as defined in Federal Rule of Civil Procedure 54 are limited to those

specified by statute).

      Class counsel’s failure to identify a rule or statute that would render Objector

responsible for the administration costs is dispositive of the question whether a bond

maybe required for these costs. In sum, almost the entire amount of the bond class

counsel requests consists of settlement-administration or delay expenses that are not

defined by statute or rule as costs and are therefore not permissible components of

an appeal bond. Accordingly, the Court should deny the bond motion.

      II.    The Gemelas factors should not be considered.

      In deciding whether to impose a Rule 7 bond, courts typically consider (1) the

appellant's financial ability to post a bond; (2) the risk that the appellant would not

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pay appellee's costs if the appeal is unsuccessful, (3) the merits of the appeal, and

(4) whether the appellant has shown any bad faith or vexatious conduct. Gemelas v.

Dannon Co., Inc., 1:08 CV 236, 2010 WL 3703811, at *1 (N.D. Ohio Aug. 31,

2010). Here, these factors do not apply because the Settlement Class has not

identified any applicable fee-shifting statute. If the Settlement Class had requested

an amount that is allowable under the statute, then Objection would find it

appropriate to address each factor. However, as almost the entire sum requested by

the Settlement Class are administrative expenses which are not allowable expenses

under statute or rule, then the Court should not consider the Gemelas factors. In any

event, the analysis of these factors would weigh against the imposition of a bond.

      III.   The requested bond is being used for an improper purpose.

      Objector believes that based on the magnitude of the requested bond, the

underlying purpose of this motion may not be securing costs but intimidating

Objector from exercising her appellate right. Class counsel has spent a large portion

of its motion inappropriately attacking Objector and her attorney. Whereas Objector

stands to pocket no money as a result of this appeal, class counsel does have a

financial incentive to discourage an appeal as they will not get paid until the

settlement is final.

      Not only should the bond motion be rejected on the merits for the reasons

explained above, but this Court should reject the improper use of a Rule 7 bond to

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deter appeals: “Allowing districts court to impose high Rule 7 bonds where the

appeals might be found frivolous risks impermissibly encumbering appellants’ right

to appeal[.]” Azizian, 499 F.3d at 961 (citation, internal quotation marks, and

source’s alteration marks omitted); accord In re Am. President Lines, Inc., 779 F.2d

714, 718 (D.C. Cir. 1985) (“While, in the federal scheme, appeals found to be

frivolous cannot command judicial respect, those possessing merit are normally a

matter of right. Courts accordingly must be wary of orders, even those well-meaning,

that might impermissibly encumber that right.” (footnotes omitted)); Clark v.

Universal Builders, Inc., 501 F.2d 324, 341 (7th Cir. 1974) (“[A]ny attempt by a

court at preventing an appeal is unwarranted and cannot be tolerated.”); see also

Vaughn v American Honda Motor, 507 F.3d 295, 300 (5th Cir. 2007) (cautioning that

“imposing too great a burden on an objector’s right to appeal may discourage

meritorious appeals or tend to insulate a district court’s judgment in approving a

class settlement from appellate review” (footnote omitted)).

      The availability of an appeal is particularly important for class action

objectors, who play a crucial role in the settlement process by speaking for absent

class members and ensuring adversarial presentation of issues. “Objectors provide a

critically valuable service of providing knowledge from a different point of view

[from that of the settling parties.]” Lane v. Facebook, Inc., 696 F.3d 811, 830 (9th

Cir. 2012) (Kleinfield, J., dissenting); see also Reynolds v. Beneficial Nat’l Bank,

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288 F.3d 277, 288 (7th Cir. 2002) (Posner, J.) (“It is desirable to have as broad a

range of participants in the fairness hearing as possible because of the risk of

collusion over attorneys’ fees and the terms of settlement generally.”).

      In short, Objector raised valid objections at the fairness hearing and is entitled

to pursue those objections to their logical conclusion, which includes the right to

appeal and to have the appeal heard, without the threat of having to cover supposed

costs that are not covered by rule or statute by lawyers whose agendas are not

necessarily in the best interests of the class members.

      The use of appeal bonds to chill the pursuit of legitimate, good-faith appeals

is a practice that this Court should emphatically discourage.

                                  CONCLUSION


      For the foregoing reasons, the motion to impose an appeal bond should be

denied.

      Dated: September 12, 2018                Respectfully submitted,

                                               /s/ Simina Vourlis
                                               Simina Vourlis
                                               Law Office of Simina Vourlis
                                               856 Pullman Way
                                               Columbus, OH 43212
                                               (614) 487-5900; Fax: (614) 487-5901
                                               svourlis@vourlislaw.com
                                               Attorney for Appellant Sheila Ference



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                         CERTIFICATE OF SERVICE


      I hereby certify that a true copy of the foregoing was filed electronically via

CM/ECF on the September 12, 2018 and served by the same means on all counsel

of record.


                                              /s/ Simina Vourlis
                                              Simina Vourlis




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